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UNI'I`ED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
SECURITIES AND EXCHANGE
COMMISSION,
Plaintiff,
v. Case No: 6:99-cv-117-0rl-22KRS

DONNA YUN and .IERRY BURCH,

Defendants.

 

ORDER
lT IS HEREBY ORDERED that the Clerk of the Court is directed to REASSIGN this

ease to another District Juclge for all further proceedings

DONE AND ORDERED at Orlando, Florida, this 2 day of September, 2018.

ANNE C. CONW“
SENIOR UNITED STATES DISTRICT JUDGE

Copies to:

Counsel of Record
Unrepresented Parties

